            Case 8:23-cr-00381-TDC Document 8 Filed 11/02/23 Page 1 of 1
                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
                                             OFFICE OF THE CLERK



Catherine M. Stavlas, Clerk                                                           Reply to Southern Division Address
David E. Ciambruschini, Chief Deputy



                                                 November 2, 2023




                         RECEIPT FOR SURRENDER OF PASSPORT



                                                                                                 USA v. Samuel Sweeley
                                                                                        8:23−cr−00381−TDC *SEALED*




Received 11/2/2023 from , one passport ending with 6539 issued by the country of united
states of america which is being surrendered to the Court as a special condition of the
defendant's release. This passport is to be held in the custody of the Court until further
ordered. Following the termination of these proceedings, the Clerk will order the
destruction of any passport in custody beyond twenty years from date of issuance of the
passport.




                                                                                       Very truly yours,
                                                                                                  /s/
                                                                                       Catherine M. Stavlas
                                                                                       Clerk, U.S. District Court
                                                                                       District of Maryland
                                                                                       prepared by: Denise Hardaway




      Northern Division º 4415 U.S. Courthouse º 101 W. Lombard Street º Baltimore, Maryland 21201 º 410−962−2600
      Southern Division º 240 U.S. Courthouse º 6500 Cherrywood Lane º Greenbelt, Maryland 20770 º 301−344−0660
                                    Visit the U.S. District Court's Web Site at www.mdd.uscourts.gov
